Case 5:17-cv-01010-TAD-MLH Document 54 Filed 08/09/18 Page 1 of 1 PageID #: 988




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


HOUSTON SPECIALTY INSURANCE CO.                       CIVIL ACTION NO. 17-cv-1010

VERSUS                                                JUDGE DOUGHTY

ASCENSION INSULATION & SUPPLY,                       MAGISTRATE JUDGE HORNSBY
INC., ET AL


                                           ORDER

        For the reasons assigned in the Report and Recommendation of the Magistrate Judge

 previously filed herein, and having thoroughly reviewed the record, no written objections

 having been filed, and concurring with the findings of the Magistrate Judge under the applicable

 law,

        IT IS ORDERED that the Motions to Dismiss [Docs. Nos. 9 and 15] are denied.

        The Court will consider the Report and Recommendation [Doc. No. 53] on the

 pending Motion for Summary Judgment [Doc. No. 22] and Motion to Strike [Doc. No. 43]

 when all delays have run.

        MONROE, LOUISIANA, this 9th day of August, 2018.



                                             _________________________________
                                                    TERRY A. DOUGHTY
                                             UNITED STATES DISTRICT JUDGE
